Based upon a review of the record, and the briefs filed by the parties, the Full Commission agrees with Deputy Commissioner Ford that the plaintiff in his Affidavit has failed to show that the Industrial Commission has subject matter jurisdiction over his claims pursuant to N.C. Gen. Stat. 143-291(a). N.C. Gen. Stat. 143-291(a) gives the Industrial Commission jurisdiction over individual claims that arise as a result of the negligence of any officer, employee, involuntary servant or agent of the State while acting within the scope of his office, employment, service, agency or authority, under circumstances where the State of North Carolina, if a private person, would be liable. Plaintiff has failed to state a claim for which relief could be granted pursuant to Rule 12(b) (6) of the North Carolina Rules of Civil Procedure in that he has failed to allege any negligent act on the part of a named employee of defendant. Plaintiff has alleged an action for breach of contract which must be brought in State courts. Accordingly, the undersigned affirm the June 29, 2000 Order dismissing plaintiffs claim with prejudice.
This the 30th day of March 2000.
                                   S/______________________ LAURA KRANIFELD MAVRETIC COMMISSIONER
CONCURRING:
  S/___________________ BERNADINE S. BALLANCE COMMISSIONER
  S/_______________ CHRISTOPHER SCOTT COMMISSIONER